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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                             Tampa Division

  TRUMP MEDIA & TECHNOLOGY
  GROUP CORP.,

              Plaintiff,

  v.                                            Case No.: 8:23-cv-1535-TPB-AAS

  WP COMPANY, LLC,
  d/b/a The Washington Post

              Defendant.
                                      /

                      SECOND AMENDED COMPLAINT
                      AND DEMAND FOR JURY TRIAL

        Plaintiff, TMTG Sub Inc. f/k/a Trump Media & Technology Group Corp.

  (“Plaintiff” or “TMTG”), files this Second Amended Complaint and Demand

  for Jury Trial against Defendant, WP Company, LLC d/b/a The Washington

  Post (“Defendant” or “WaPo”). This Amended Complaint concerns an article

  published by Defendant related to a contemplated merger between TMTG and

  Trump Media & Technology Group Corp. f/k/a Digital World Acquisition Corp.

  (“DWAC”) and the defamatory statements contained therein as well as

  Defendant’s intentional conspiracy to harm Plaintiff’s finances and reputation.

  Plaintiff seeks (a) compensatory and punitive damages in excess of

  $3,780,000,000.00 as determined by a Jury; (b) prejudgment interest on the

  principal sum in accordance with applicable statutory rates; and (c) costs

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  arising from Defendant’s defamation and conspiracy and reasonably incurred

  in prosecuting claims herein.

                                  INTRODUCTION

        1.    TMTG is a Sarasota-based media and technology company that

  operates a flagship social media platform called “Truth Social.”

        2.    On May 13, 2023, WaPo, acting in concert with a former employee

  of TMTG, who had been terminated for cause, published an egregious hit piece

  falsely accusing TMTG of securities fraud and other wrongdoing, which was

  then amplified by WaPo on social media. WaPo’s false statements of

  criminality and nefarious business transactions exposed TMTG to public

  ridicule, contempt, and distrust in the public sphere, and injured TMTG’s

  business and reputation.

        3.    WaPo and the false story’s primary author, Drew Harwell

  (“Harwell”), have been on a years-long crusade against TMTG characterized

  by the constant portrayal of the company as verging on financial collapse and

  the unquestioning promotion of allegations by disgruntled former employees

  with obvious axes to grind.

        4.    WaPo’s defamatory and malicious statements addressed in this

  action created an existential threat to TMTG and caused enormous loss and

  hardship. TMTG brings this case to recover compensatory and special damages



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  caused to its business and good will, and punitive damages for WaPo’s gross

  misconduct.

                        PARTIES AND JURISDICTION1

        5.      TMTG is a Delaware corporation headquartered in Sarasota,

  Florida.

        6.      WaPo is a Delaware limited liability company, whose sole member

  is Nash Holdings, LLC, a Delaware limited liability company, whose ultimate

  owner was at the time of the commencement of this action was a citizen of the

  State of Washington. The Washington Post has more than 2,500,000 digital

  subscribers in the United States, including Florida. Defendant’s Twitter/X

  page has more than 20,000,000 followers, including in Florida. WaPo has

  agents and offices in Florida. It transacts substantial business in Florida,

  including the sale of newspapers, advertising, and online subscription services

  to residents of Sarasota, and the operation of an active website accessible in

  Florida, www.washingtonpost.com. The article at issue in this action targeted

  a Florida business and was accessed and read by thousands of Floridians. To

  the best of Plaintiff’s knowledge, WaPo’s ultimate owner owns multiple

  properties in Florida and publicly announced in November 2023 his intent to

  reside in Florida.


  1
   TMTG does not waive its contention that WaPo is subject to jurisdiction of
  Florida State Courts.
                                         3
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       7.       Venue is proper in this Court, where the false and defamatory

  statements were published and where TMTG suffered substantial damages.


                      STATEMENT OF MATERIAL FACTS

       8.       On March 15, 2023, The Guardian published an online article

  entitled “Federal investigators examined Trump Media for possible money

  laundering,         sources       say.”        [https://www.theguardian.com/us-

  news/2023/mar/15/trump-media-investigated-possible-money-laundering (the

  “Guardian Article”)]. The Guardian Article contained false statements and

  defamatory implications.

       9.       The source of the Guardian’s false and defamatory charges was a

  former employee of TMTG, Will Wilkerson (“Wilkerson”), who was previously

  terminated by TMTG for cause in connection with the unauthorized disclosure

  of TMTG’s confidential information in violation of his employment agreement,

  non-disclosure agreement, and TMTG’s external communications policy.

  Beginning in 2022, separate and apart from any purported disclosures he may

  have made to the government, Wilkerson began to concoct and publicly shop

  false stories about TMTG to numerous media outlets.

       10.      By May 2023, Wilkerson had devised another fake news story to

  discredit and harm TMTG.




                                            4
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       11.   By May 2023, it was well-known that WaPo and Harwell eagerly

  published false and injurious stories about TMTG, its CEO, Devin Nunes

  (“Nunes”), and former President Donald Trump. See Exhibit A.

       12.   Wilkerson contacted WaPo with a salacious story about a porn-

  friendly bank and its alleged dealings with TMTG allegedly amounting to

  securities fraud and other potential crimes or misdeeds. Through a series of

  meetings and conversations with Wilkerson and his lawyers, WaPo undertook

  with Wilkerson to publish agreed false and defamatory statements to

  intentionally injure TMTG.

       13.   On May 13, 2023, WaPo published an online article with the

  clickbait headline, “Trust linked to porn-friendly bank could gain a stake

  in                 Trump’s                    Truth                     Social.”

  [https://www.washingtonpost.com/technology/2023/05/13/trump-truth-social-

  loan-questions (the “WaPo Article”)]. This sensational brand of “reporting”

  was in line with WaPo and Harwell’s global campaign to publish salacious

  headlines and stories to increase media traffic and defame TMTG and others

  related to TMTG.

       14.   The WaPo Article and follow-on social media republications

  contain the following false statements of fact of or concerning TMTG:




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           a. “The companies also have not disclosed to shareholders or the SEC

           that Trump Media paid a $240,000 finder’s fee for helping to arrange

           the $8 million loan deal with ES Family Trust”; and

           b. “the recipient of that fee was an outside brokerage associated with

           Patrick Orlando, then Digital World’s CEO” (referred to collectively

           as the “Statements”).

        15.   WaPo was not content with publication of the Statements set forth

  above to its subscribers and republished such Statements to its X (formerly

  Twitter) followers.

        16.   Harwell republished the WaPo Article to his 48,000 followers,

  which included correspondents at CNN, New York Times, NBC News, The

  Atlantic, Huffington Post, the Daily Beast, Business Insider, and the

  Guardian.       [http://twitter.com/drewharwell/status/1657351704419917825

  (New: The Truth Social saga just keeps getting weirder. Our latest includes a

  porn-friendly bank on a Caribbean island and an $8 million mystery loan”).

        17.   In order to further spread the smear and increase damage to

  TMTG, WaPo engaged agents from both within and outside the company to

  broadly republish the defamatory statements. For example, Harwell and

  Washington Post “cyber reporter” Joseph Menn (“Menn”) “boosted”

  (republished) the WaPo Article on the Mastodon social media network.



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  [https://mastodon.social/@JosephMenn@infosec.exchange/1103637035256316

  48 (“Wild tale about mysterious backin for Truth Social”)].

          18.   WaPo business editor Lori Montgomery (“Montgomery”), the

  author of WaPo’s May 17, 2023 response to TMTG’s retraction demand (see

  infra), joined the fray by retweeting the WaPo Article to her followers.

          19.   Co-author of the WaPo Article, freelance journalist Matt

  Bernardini (“Bernardini”), also retweeted the WaPo Article to his followers.

  [https://twitter.com/MattBernardini7/status/1657346969365364737?s=20].

          20.   The second co-author of the WaPo Article, Matei Rosca (“Rosca”),

  tweeted         the       WaPo        Article       to           his    followers

  [https://twitter.com/mateirosca/status/1657350755848683520?s=20],

  retweeted Harwell, and republished the WaPo Articled on his website.

  [https://reporter.london/]. Rosca lead readers to believe that the WaPo Article

  was “just scratching the surface,” and that there were additional undisclosed

  facts             and            wrongdoing                 by             TMTG.

  [https://twitter.com/mateirosca/status/1657396995709890561/s=20

  (@MattBernardini7 @mateirosca @drewharwell the Washington Post ES

  Trust/Trump Media story is just the surface right? Great work”)].

          21.   WaPo’s and its confederates’ frenzy and repeated, concerted

  harassment evidence a knowing, deliberate, organized, and systemic effort to



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  promote the false and defamatory Statements worldwide in order to inflict the

  greatest possible injury on TMTG and its business status and opportunities.

        22.   The clickbait headline of the WaPo Article – “Trust linked to

  porn-friendly bank could gain a stake in Trump’s Truth Social” – was

  intended to grab the immediate attention of common-minded readers by falsely

  insinuating that TMTG was involved in shady business dealings. [See

  https://twitter.com/ericgarland/status/1657772179793256450 (“Yo WaPo, you

  buried the lede here, even calling it a loan from a porn-friendly bank.’ It’s

  PAXUM BANK, one that’s almost surely tied to Russian Mafiya $$$ from sex

  trafficking of cam girls in Romania and around the world. Its owner just

  resigned yesterday.”)].

        23.   The Statements immediately conveyed a defamatory, intentional,

  and inescapable meaning to readers; the gist of which is that TMTG committed

  securities fraud or aided, abetted, and participated in improper acts to conceal

  material facts2 from the SEC and shareholders of DWAC.

        24.   The WaPo Article imputed to TMTG crimes, dishonesty, want of

  integrity, and corporate malfeasance guiding readers to conclude that TMTG




  2
   The WaPo Article represents that TMTG’s failure to disclose payment of the
  “$240,000 finder’s fee” was a material omission and, therefore, securities fraud.
  WaPo states, “Orlando’s finder’s fee could affect the value of the shares.” To be
  clear, WaPo’s Statements are baseless because no finder’s fee was paid to
  anyone, nor did TMTG ever agree to pay such a fee.
                                         8
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  and its executives could go to jail because of the non-disclosures, suffer

  humiliation,    and/or   fail   in   its    business   endeavors.       [see,     e.g.,

  https://twitter.com/dave_winx/status/1657723934677008390 (“The beautiful

  thing about this is that it could potentially lead to charges against Devon [sic]

  Nunes”);         https://twitter.com//KeyLargo2/status/1657502055047614472

  (“Someone, please put this corrupt mf’er in jail!”)]. Readers of the WaPo Article

  concluded that TMTG operated underhandedly and openly disregarded the

  rule               of                law.                    See,                 e.g.,

  https://www.washingtonpost.com/technology/2023/05/13/trump-truth-social-

  loan-questions/?commentID=99e03c41-0803-41cc-8340-fbd718941d86].

         25.   To prop up the WaPo Article’s central thesis – namely, that TMTG

  engaged in or was a party to securities fraud – WaPo included in the Article

  the story of an “investor,” Tom Sas, a purported Trump supporter, who was

  “injured” after he spent $561,000 on DWAC stock, “his life savings,” because of

  TMTG’s non-disclosures. On May 13, 2023, WaPo tweeted the Article and

  highlighted Sas’s misfortune, insinuating that TMTG’s concealment of

  material facts caused DWAC’s stock price to plummet to $13 per share. In his

  quote tweet, Harwell ridiculed Sas and other investors similarly situated.

  [https://twitter.com/drwharwell/status/1657366474032381952           (“No       matter

  how your day is going, at least you didn’t spend your life savings on Truth

  Social-related stock, paying $175 for share that now sell for $13”)]. WaPo

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  readers similarly commented and mocked Sas as a “sucker” and that Sas was

  a victim of a stock “scam” or “grift.”

        26.   As was naturally and foreseeably intended by WaPo and

  Wilkerson, the WaPo Article and its defamatory Statements were republished

  thousands of times, including by prominent anti-TMTG Twitter users.

        27.   The Statements are materially false.

        28.   TMTG never paid or agreed to pay a $240,000 “finder’s fee” to

  anyone who purportedly assisted to arrange an $8 million loan from ES Family

  Trust as accused in the Statements. Neither Orlando nor any brokerage

  associated with Orlando received any finder’s fee. Accordingly, TMTG did not

  improperly fail to disclose (or cause DWAC to fail to disclose) payment of a

  finder’s fee to the SEC, DWAC shareholders, and/or the investing public

  because one did not exist, and there was no agreement for one.

        29.   Comparing the truth of these facts to the Statements, individually

  and in their accumulated totality, the WaPo Article was plainly, materially

  false, defamatory, and specifically intended to disrupt, disparage, injure,

  condemn, and besmirch TMTG’s business reputation and its financial

  standing.

        30.   Fla. Stat. § 770.01 provides that a plaintiff in a civil action against

  a publication for libel or slander “shall, at least 5 days before instituting such

  action, serve notice in writing on the defendant, specifying the article or

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  broadcast and the statements therein which he or she alleges to be false and

  defamatory.”

        31.   On May 14, 2023, TMTG served written notice on WaPo pursuant

  to Fla. Stat. § 770.01 and requested retraction of the WaPo Article.

        32.   On May 17, 2023, a response written by Montgomery admitted

  that payment of the “$240,000 finder’s fee” was “information” that was

  “material to investors,” but WaPo refused to recognize that no finder’s fee had

  ever been paid, that TMTG did not fail or refuse to disclose anything to the

  SEC or shareholders, and that its Statements were materially false. WaPo

  continues to refuse to retract its defamatory Statements.

        33.   WaPo’s Statements were not published in good faith. The falsity of

  the Statements is not due to an honest mistake of the facts. There are no

  reasonable or verifiable grounds for believing the Statements are true.

  Publication of the Statements and republication of the Guardian Article were

  part of a concerted effort to damage TMTG and damage is business.


                             CAUSES OF ACTION

                                COUNT I
                  Defamation Arising from the Statements

        34.   TMTG realleges and incorporates herein paragraphs 1 through 33

  above.



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        35.   WaPo made and published to third parties, including WaPo’s

  subscribers, advertisers, viewers, and followers in Sarasota County and world-

  wide, the false Statements. WaPo also republished the false and defamatory

  statements contained in the Guardian Article.

        36.   The Statements are entirely false. As discussed, TMTG never paid

  or agreed to pay a $240,000 “finder’s fee” to anyone who purportedly assisted

  to arrange an $8 million loan from ES Family Trust as accused in the

  Statements.

        37.   By publishing the false Statements on the Internet and by

  tweeting the same, WaPo knew or should have known that the false

  Statements would be republished over and over again by third parties to

  TMTG’s detriment and injury. Such republication was the natural and

  intended consequence of WaPo’s actions and presumptively authorized and

  encouraged by WaPo as part of its regular course of business. In addition to

  the original publication, WaPo is liable for the republication of the Statements

  by its agents and third parties.

        38.   The Statements constitute defamation per se. The Statements

  accuse TMTG of infamous crimes, including securities fraud, misconduct,

  incompetence, dishonesty, and/or deception in its trade and business.




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        39.   The Statements subject TMTG to distrust by the public, potential

  investors, and regulating agencies, and thus are inherently injurious to

  TMTG’s business.

        40.   The Statements damaged TMTG’s business, brand, and good will,

  causing potential investors and/or users of Truth Social to refrain from joining

  the platform, jeopardizing and further delaying the SEC’s review of the

  proposed merger with DWAC, and causing loss of future earning capacity.

        41.   Publication of the WaPo Article destroyed at least $2.78 billion of

  implied equity value in TMTG.

        42.   WaPo acted with actual malice and reckless disregard for the truth

  of the Statements as follows:

              a. In the WaPo Article, WaPo asserts that “internal documents”

  supplied by Wilkerson showed that former DWAC CEO Patrick Orlando, or a

  brokerage associated with him, was paid a finder’s fee for the loan. This was

  false: No such finder’s fee was ever paid, nor did TMTG ever agree to pay such

  a fee. Therefore, no “internal document” showed or could have shown that

  TMTG paid or agreed to pay a finder’s fee.3 Wilkerson, who had full access to




  3
    The fact that a third party sent TMTG an invoice is not evidence of an
  agreement to pay a fee, much less of an actual payment. While TMTG
  respectfully submits it does not bear the burden of proving a negative at this
  stage of the litigation, it is prepared to marshal evidence affirmatively showing
  that no fee was paid.
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  TMTG’s books and records, knew that TMTG had not paid a finder’s fee or even

  agreed to do so, which would have necessitated accounting for the fee as a

  liability. Because Wilkerson was WaPo’s sole source for its claims, WaPo knew

  or had a high degree of awareness that the fee had not been paid. WaPo has

  admitted that Harwell reviewed the internal documents from Wilkerson.

  Simply put, WaPo reviewed the internal documents from Wilkerson but would

  not have seen any documents showing a finder’s fee had been paid or agreed to

  be paid because no such documents existed, and this gave WaPo knowledge

  that such documents did not exist. WaPo’s Statements to the contrary were

  knowingly false or, at the very least, evinced a reckless disregard for the truth.

  In spite of knowing the allegations were fake or at least having no evidence to

  substantiate the finder’s fee, WaPo accused TMTG of hiding the fictitious

  payment to an Orlando-associated entity from the SEC and shareholders. If

  true, TMTG’s fraudulent and deceptive concealment of material facts from the

  SEC and shareholders would have been, at the least, a colossal lack of good

  business judgment–especially given the then-ongoing SEC enforcement

  investigations that focused on the conduct of Orlando. Given this context, the

  alleged failure to disclose a finder’s fee payment could have been grounds for

  the SEC to further delay or deny effectiveness of DWAC’s registration

  statement pertaining to its then-pending merger with TMTG.



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              b.    WaPo knew Wilkerson had been “ousted” from TMTG, i.e.,

  terminated for cause after making unauthorized disclosures of TMTG’s

  confidential information to press outlets including WaPo, which published

  sympathetic profiles of Wilkerson (complete with photo shoots) in October 2022

  and April 2023.4 WaPo knew there was bad blood between TMTG and

  Wilkerson, including because, according to WaPo’s own reporting, Wilkerson

  was “fired” from his job, (falsely) accused TMTG of violating the securities law,

  became a “threat[] to TMTG’s future,” and lost “stock options that might have

  one day made him a millionaire”—along with his self-image as an

  “unstoppable” Avenger, which he exchanged for a $16/hour job as a Starbucks

  barista. The Miami Herald further publicized Wilkerson’s bad blood with

  TMTG months before the WaPo Article.5 The Miami Herald published the

  following: (1) “He [Wilkerson] argues the [Truth Social] site has quickly become

  more about promoting Trump than giving voice to a range of conservatives and




  4
   Drew Harwell, “Co-founder of Trump’s media company details Truth Social’s
  bitter infighting”, WASHINGTON POST (Oct. 15, 2022), https://archive.is/T3Qe8;
  Drew Harwell, “He blew the whistle on Trump’s Truth Social. Now he works
  at      Starbucks.”,     WASHINGTON        POST      (Apr.      29,      2023),
  https://archive.is/Peun0#selection-327.0-327.71.
  5
   Jay Weaver, “Behind the scenes of how Trump’s Truth Social was born, and
  how     it could    fall  apart”,   MIAMI HERALD      (Oct.   7,   2022),
  https://www.miamiherald.com/news/politics-
  government/article266503321.html.

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  others . . .”; (2) “One way or another, this company is going to go bankrupt”; (3)

  “Wilkerson . . . said he decided to speak out about Truth Social because he

  believes it has not fulfilled its original mission to be a ‘Big Tent’ for

  conservatives and other political voices in social media — that, instead, it has

  turned into an ‘echo chamber’ for Trump and his personality since it was

  launched online in February with former Republican Rep. Devin Nunes as

  Trump Media’s CEO.”; (4) “‘Unfortunately, it’s [the Truth Social platform] fed

  into the ultra MAGA followers and QAnon conspiracy theorists,’ he told the

  Herald. ‘That was never the original intention of the site. . . . it’s really a shame

  it’s gone in this direction.’”; (5) “. . . Wilkerson said that despite his excitement

  about Truth Social’s future, he became deeply concerned about the arrival of

  Nunes as Trump Media’s new CEO in January and the ideological direction of

  the social media platform, especially when he started hiring what he viewed

  as Nunes’ ‘cronies.’ He said Nunes . . . recast Truth Social as Trump’s ‘bully

  pulpit,’ a direction he had feared at the outset.”; and (6) “‘It was all downhill

  after Devin Nunes took over,’ Wilkerson said. ‘You don’t get to be a

  multibillion-dollar company with one message, a repeating echo chamber

  around one person, Donald Trump.’” Despite all of this, WaPo published the

  false Statements anyway.

               c.    The Statements were intentionally extreme and outrageous.

  WaPo knew that publication of the Statements would cause a media frenzy.

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  WaPo deliberately and recklessly conveyed a false narrative about TMTG in

  order to sensationalize the news and injure TMTG’s business reputation and

  financial standing. WaPo published the Statements with the intent to inflict

  injury on TMTG.

              f.    WaPo harbored extreme bias, ill-will, and desire to inflict

  harm on TMTG through publishing knowing falsehoods. WaPo and Harwell

  have a long and well-documented history of antipathy toward TMTG, Nunes,

  and former President Trump, and publication of the Statements evidences the

  same. For example, Harwell began ridiculing Nunes’ leadership of TMTG even

  before Nunes assumed his position at the company—when Nunes first

  announced he would leave Congress to lead TMTG, Harwell posted

  sarcastically on Twitter, “Big move for esteemed social network, streaming

  media & cloud computing expert Devin Nunes.”6 Furthermore, after former

  President Trump was banned from Twitter, Harwell characterized Trump’s

  social media posts as violent, hateful, and dangerous, co-authoring a WaPo

  story asserting that “President Trump will leave the White House on

  Wednesday as a man shorn of a key instrument of his power — his Twitter

  account — amid a broad reckoning over whether even the world’s leading

  politicians have a right to incite violence and spread hate speech on social


  6
       Drew       Harwell     (@drewharwell),   X    (Dec.           6,    2021),
  https://x.com/drewharwell/status/1468008362579271686.
                                       17
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  media.7 Going beyond publicly denigrating the company, as Truth Social was

  undergoing beta testing in 2021, Harwell bragged that he’d repeatedly

  registered fake accounts on the incipient platform.8

        43.   As a direct result of WaPo’s defamation, TMTG suffered damages,

  including, but not limited to, loss and injury to its business, brand and good

  will, lost future earning capacity, damages, and injury to reputation (past and

  future), costs, and other out-of-pocket expenses in the sum of $2,780,000,000

  or such greater amount as determined by the Jury.


                                   COUNT II
                                   Conspiracy

        44.   TMTG realleges and incorporates herein paragraphs 1 through 43

  above.

        45.   Beginning in October 2022 and continuing through present, WaPo,

  outside third parties (including the WaPo Article’s freelance co-authors),

  Wilkerson and his lawyers combined, associated, agreed, or acted in concert




  7
   Craig Timberg and Drew Harwell, “Exiled from social media mainstream,
  Trump and his followers will find life different at the extreme corners of the
  Web,” WASHINGTON POST (Jan. 19, 2021), https://archive.is/YGbga#selection-
  427.1-427.119.

  8
       Drew       Harwell    (@drewharwell),    X    (Oct.     20,         2021),
  https://x.com/drewharwell/status/1451020106067288065;     Drew          Harwell
  (@drewharwell),            X           (Oct.          21,                2021),
  https://x.com/drewharwell/status/1451256225417646085 .
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  together for the express purpose and illegal objective of injuring TMTG and

  intentionally interfering with and destroying its business and reputation.

        46.   In furtherance of the conspiracy and preconceived plan, WaPo

  worked together with others to write, publish, and republish false and

  defamatory Statements about TMTG to harm its business.

        47.   Wilkerson supplied leaked documents to WaPo, and the parties

  jointly crafted a fraudulent narrative about securities fraud.

        48.   The WaPo Article and its publication were overt acts in

  furtherance of the conspiracy.

        49.   WaPo and its co-conspirators acted intentionally, purposefully,

  without lawful justification, and with the express knowledge that they were

  defaming TMTG.

        50.   WaPo’s actions constitute a conspiracy at common law.

        51.   As a direct result of WaPo’s willful misconduct, TMTG suffered

  damages, including, but not limited to, loss and injury to its business, brand

  and good will, lost future earning capacity, damage, and injury to reputation

  (past and future), costs, and other out-of-pocket expenses in the sum of

  $2,780,000,000 or such greater amount as determined by the Jury.



        TMTG alleges the foregoing based upon personal knowledge, public

  statements of others, and records in its possession. TMTG believes that

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  substantial additional evidentiary support, which is in the exclusive possession

  of WaPo and others, exists for the allegations and claims set forth above.

        TMTG reserves the right to amend this Second Amended Complaint

  upon discovery of additional evidence of WaPo’s wrongdoing.


                                JURY DEMAND

        TMTG demands a trial by jury on all issues triable by jury.


                             PRAYER FOR RELIEF

        WHEREFORE, TMTG demands judgment against WaPo, as follows:

           a. Compensatory damages in the amount of $2,780,000,000.00 or

              such greater amount as is determined by the Jury;

           b. Punitive damages in the amount of $1,000,000,000.00 or the

              maximum amount allowed by law;

           c. Prejudgment interest from May 13, 2023, until the date Judgment

              is entered at the maximum rate allowed by law;

           d. Prejudgment interest at the maximum rate allowed by Florida law;

              and

           e. Such other relief this Court deems just and proper.



  Dated: January 13, 2025                 Respectfully submitted,

                                          /s/ Stephen B. French

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                          CERTIFICATE OF SERVICE


        I certify that on January 13, 2024, a copy of the foregoing was filed with

  the Clerk of the Court using the Court’s CM/ECF system, which will send a

  copy to all counsel of record.




                                         /s/ Stephen B. French
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